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 Anna Y. Park, CA SBN 164242
 Nakkisa Akhavan, CA SBN 286260
 U.S. EQUAL EMPLOYMENT
 OPPORTUNITY COMMISSION
 255 East Temple Street, Fourth Floor
 Los Angeles, CA 90012
 Telephone: (213) 785-3083
 Facsimile: (213) 894-1301
 E-mail: lado.legal@eeoc.gov

 Eric Yau, HI SBN 10087
 U.S. EQUAL EMPLOYMENT
 OPPORTUNITY COMMISSION
 300 Ala Moana Boulevard, Room 4-257
 Honolulu, HI 96850
 Telephone: (808) 800-2345
 Facsimile: (808) 541-3390
 E-mail: eric.yau@eeoc.gov

 Attorneys for Plaintiff
 U.S. EQUAL EMPLOYMENT
 OPPORTUNITY COMMISSION


                     UNITED STATES DISTRICT COURT
                             DISTRICT OF HAWAII

 U.S. EQUAL EMPLOYMENT                  ) Case No.:
                                        )
 OPPORTUNITY COMMISSION,                )
                                        ) COMPLAINT—Title VII
                                        )
             Plaintiff,                 )  Race Discrimination (Black)
                                        )  Retaliation
       vs.                              )
                                        )
                                        )
 SUISAN COMPANY, LIMITED and            ) JURY TRIAL DEMAND
                                        )
 Does 1-5 Inclusive,                    )
                                        )
             Defendant(s).              )
                                        )
                                        )

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                           NATURE OF THE ACTION

       This is an action under Title VII of the Civil Rights Act of 1964 and Title I

 of the Civil Rights Act of 1991 to correct unlawful employment practices on the

 basis of race and retaliation and to provide appropriate relief to Charging Party

 Ernest Sykes (“Charging Party” or “Sykes”) who was adversely affected by such

 practices.

       As set forth with greater particularity below, Plaintiff United States Equal

 Employment Opportunity Commission (“Plaintiff” or “Commission”) alleges that

 Defendant Suisan Company, Limited (“Defendant”) unlawfully discriminated

 against the Charging Party because of his race, Black, by subjecting him to racial

 harassment by creating and maintaining a hostile work environment and by

 suspending him and terminating him in retaliation for engaging in protected

 activities of reporting the harassment and opposing the discriminatory employment

 practices.

                          JURISDICTION AND VENUE

       1.     Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 451,

 1331, 1337, 1343 and 1345. This action is authorized and instituted pursuant to

 Sections 706(f)(1) and (3) of Title VII of the Civil Rights Act of 1964, as amended,

 42 U.S.C. §§ 2000e-5(f)(1) and (3) (“Title VII”) and pursuant to Section 102 of the

 Civil Rights Act of 1991, 42 U.S.C. § 1981a.


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       2.     The employment practices alleged to be unlawful were committed

 within the jurisdiction of the United States District Court for the District of Hawaii.

                                      PARTIES

       3.     Plaintiff, the Equal Employment Opportunity Commission, is an

 agency of the United States of America charged with the administration,

 interpretation and enforcement of Title VII, and is expressly authorized to bring

 this action by Sections 706(f)(1) and (3) of Title VII, 42 U.S.C. §§ 2000e-5(f)(1)

 and (3).

       4.     At all relevant times, Defendant Suisan Company, Limited has

 continuously been a corporation doing business in the State of Hawaii and has

 continuously had at least fifteen (15) employees.

       5.     At all relevant times, Defendant Suisan Company, Limited has

 continuously been an employer engaged in an industry affecting commerce under

 Sections 701(b), (g) and (h) of Title VII, 42 U.S.C. §§2000e(b), (g) and (h).

       6.     Defendant is a Hawaii corporation that operates as a broadline food

 distribution company on the Big Island of Hawaii, with warehouses in Hilo and

 Kailua-Kona.

       7.     In each calendar year from 2018 through the present, Defendant has

 continuously employed at least 101 employees.

       8.     All of the acts and failures to act alleged herein were duly performed


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 by and attributable to all Defendants, each acting as a successor, agent, alter ego,

 employee, indirect employer, joint employer, integrated enterprise and/or or under

 the direction and control of the others, except as specifically alleged otherwise.

 Said acts and failures to act were within the scope of such agency and/or

 employment, and each Defendant participated in, approved and/or ratified the

 unlawful acts and omissions by the other Defendants complained of herein.

 Whenever and wherever reference is made in this Complaint to any act by a

 Defendant or Defendants, such allegations and reference shall also be deemed to

 mean the acts and failures to act of each Defendant acting individually, jointly,

 and/or severally.

       9.        Plaintiff is ignorant of the true names and capacities of each

 Defendant sued as Does 1 through 5, inclusively, and therefore Plaintiff sues said

 defendant(s) by fictitious names. Plaintiff reserves the right to amend the

 complaint to name each Doe defendant individually and collectively as they

 become known. Plaintiff alleges that each Doe defendant was in some manner

 responsible for the acts and omissions alleged herein and Plaintiff will amend the

 complaint to allege such responsibility when the same shall have been ascertained

 by Plaintiff.




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                       ADMINISTRATIVE PROCEDURES

       10.    More than thirty days prior to the institution of this lawsuit, Charging

 Party Ernest Sykes filed a charge of discrimination with the Commission alleging

 violations of Title VII by Defendant.

       11.    Defendant received a copy of the Charge and participated in the

 Commission’s investigation, including by communicating with Commission

 enforcement staff and responding to requests from the Commission for a position

 statement, information, and documents.

       12.    On June 2, 2021, the Commission issued to Defendant a Letter of

 Determination finding reasonable cause to believe that Defendant had violated

 Title VII and inviting Defendant to join with the Commission in informal methods

 of conciliation to endeavor to eliminate the discriminatory practices and provide

 appropriate relief.

       13.    The Commission engaged in communications with Defendant to

 provide Defendant the opportunity to remedy the discriminatory practices and

 provide appropriate relief.

       14.    The Commission was unable to secure from Defendant a conciliation

 agreement acceptable to the Commission.

       15.    On September 3, 2021, the Commission issued to Defendant a Notice

 of Failure of Conciliation.


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        16.   All conditions precedent to the institution of this lawsuit have been

 fulfilled.

                            STATEMENT OF CLAIMS

        17.   Since at least 2019, Defendant engaged in unlawful employment

 practices in violation of Section 703(a)(1) of Title VII, 42 U.S.C. § 2000e-2(a)(1)

 by subjecting the Charging Party to unwelcome racial harassment. The racial

 harassment was sufficiently severe and pervasive to adversely affect the terms and

 conditions of his employment and create a hostile, abusive work environment.

                 a. Defendant hired Sykes on or about June 5, 2019, for the

                    position of Warehouse Night Crew Member.

                 b. Sykes was supervised by the Lead Warehouse Supervisor, who

                    supervised a crew of workers and provided feedback to higher

                    management on the work performance of workers he

                    supervised, which could lead to an array of disciplinary actions,

                    up to and including termination.

                 c. On the scheduled night shift around midnight of June 27, 2019,

                    and early hours of June 28, 2019, Sykes’ Lead Warehouse

                    Supervisor began shouting and yelling racial slurs at Sykes,

                    which included the use of the term “nigger.”

                 d. Sykes promptly completed an incident report complaining


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                  about the Lead Warehouse Supervisor’s racial harassment.

               e. Defendant tasked the Night Warehouse Manager with

                  investigating Sykes’ racial harassment complaint.

               f. Upon receiving Sykes’ racial harassment complaint, the Night

                  Warehouse Manager purportedly investigated the matter. In

                  doing so, the Night Warehouse Manager met with Sykes on

                  June 28, 2019, and explained that he did not believe using the

                  term “nigger” was a problem, and repeatedly used the racial

                  epithet during his meeting with Sykes.

               g. During a second meeting with Sykes on July 1, 2019, after

                  having received his complaint against the Lead Warehouse

                  Supervisor, the Night Warehouse Manager and another

                  Supervisor both used the term “nigger” and made other

                  derogatory comments about black people in general and joked

                  about slavery, over Sykes’ protests.

               h. On July 1, 2019, the Night Warehouse Manager suspended

                  Sykes and on July 2, 2019, he terminated Sykes, after Sykes

                  protested against racial harassment via a written complaint and

                  verbally to the Night Warehouse Manager.

               i. The racial harassment by the Lead Warehouse Supervisor and


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                    the Night Warehouse Manager was sufficiently severe and

                    pervasive to create a hostile work environment.

                 j. Defendant is vicariously liable for the hostile work environment

                    created because it failed to correct harassing behavior and

                    instead allowed the behavior to culminate in tangible

                    employment actions against Sykes, specifically his suspension

                    and termination.

       18.    Since at least 2019, Defendant engaged in unlawful employment

 practices in violation of Section 704(a) of Title VII, 42 U.S.C. § 2000e-3(a) by

 subjecting the Charging Party to retaliation for his engagement in protected

 activities under Title VII when he complained about the hostile work environment

 he was being subjected to.

                 a. Sykes engaged in protected activities when he complained

                    about the unlawful racial harassment by the Lead Warehouse

                    Supervisor and the Night Warehouse Manager and requested

                    them to halt the harassment on June 28, 2019 and July 1, 2019,

                    as described in Paragraphs 17(a)-(g) above.

                 b. On July 1, 2019, a few hours after the meeting with Sykes, the

                    Night Warehouse Manager informed Sykes that he had been

                    suspended and to leave work immediately, followed by his


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                      abrupt termination on July 2, 2019.

                   c. The events described in Paragraph 18(a)-(b) constituted

                      unlawful retaliation by Defendant against Sykes on account of

                      his engaging in protected activities.

       19.    The effect of the practices complained of above has been to deprive

 the Charging Party of equal employment opportunities and otherwise adversely

 affects his status as an employee because of his race.

       20.    The effect of the practices complained of above has been to deprive

 the Charging Party of equal employment opportunities and otherwise adversely

 affects his status as an employee because of his engagement in protected activities

 in opposition to unlawful employment practices.

       21.    The unlawful employment practices complained of above were

 intentional and caused the Charging Party to suffer emotional distress.

       22.    The unlawful employment practices complained of above were done

 with malice or with reckless indifference to the federally protected rights of the

 Charging Party.

                               PRAYER FOR RELIEF

       Wherefore, the Commission respectfully requests that this Court:

       A.     Grant a permanent injunction enjoining Defendant, its officers,

 successors, assigns, and all persons in active concert or participation with each of


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  them, from engaging in racial harassment, retaliation, and any other employment

  practices which discriminate on the basis of race;

        B.     Order Defendant to institute and carry out policies, practices, and

  programs to ensure that it would not engage in unlawful employment practices in

  violation of Sections 703(a)(1) and 704 of Title VII, 42 U.S.C. §§ 2000e-2(a)(1)

  and 2000e-3(a);

        C.     Order Defendant to make the Charging Party whole by providing

  compensation for past and future pecuniary losses, including appropriate back pay

  and front pay with prejudgment interest on any lost pay and benefits, in amounts

  to be determined at trial;

        D.     Order Defendant to make the Charging Party whole by providing

  compensation for past and future non-pecuniary losses resulting from the unlawful

  employment practices complained of above, including emotional pain, suffering,

  inconvenience, mental anguish, humiliation and loss of enjoyment of life, in

  amounts to be determined at trial;

        E.     Order Defendant to pay the Charging Party punitive damages for its

  intentional, malicious, and reckless conduct described above in an amount to be

  determined at trial;

        F.     Award the Commission its costs of this action; and




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        G.     Grant such further relief as the Court deems necessary and proper in

  the public interest.

                              JURY TRIAL DEMAND

        The Commission requests a jury trial on all questions of fact raised by its

  Complaint.

  Dated: September 23, 2021             Respectfully Submitted,

                                        GWENDOLYN YOUNG REAMS,
                                        Acting General Counsel
                                        Washington, DC

                                        LISA MORELLI,
                                        Acting Associate General Counsel
                                        Washington, DC


                                  By:   __________________________
                                        Anna Y. Park,
                                        Regional Attorney
                                        EEOC – Los Angeles District Office

                                        NAKKISA AKHAVAN
                                        Supervisory Trial Attorney

                                        ERIC YAU
                                        Trial Attorney

                                        ATTORNEYS FOR PLAINTIFF
                                        U.S. EQUAL EMPLOYMENT
                                        OPPORTUNITY COMMISSION




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